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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA

VS.                                4:13CR00221-02-BRW

LAMONT M. JOHNSON


                                           ORDER

       On July 19, 2013, the Honorable Magistrate Judge J. Thomas Ray appointed Mr. Richard

Holiman to represent Defendant Lamont Johnson.1 Two months later, Mr. Holiman and Mr. Johnson

filed motions requesting that Mr. Holiman be allowed to withdraw and a new lawyer be appointed

to represent Mr. Johnson.2 At a hearing on Friday, September 27, 2013, I allowed Mr. Holiman to

withdraw from the case.3

       I now appoint Assistant Federal Public Defender Kim Driggers to represent Defendant

Lamont M. Johnson.

       IT IS SO ORDERED this 30th day of September, 2013.



                                                /s/Billy Roy Wilson
                                           UNITED STATES DISTRICT JUDGE




       1
           See Doc. No. 5.
       2
           See Doc. Nos. 46, 48.
       3
           See Doc. No. 51.
